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                 Exhibit 6
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                        MDL No. 3076
                                 CASE NO. 1:23-md-03076-KMM


     In Re: FTX Cryptocurrency Exchange Collapse Litigation


               PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION TO
                       PROMOTER & INFLUENCER DEFENDANTS

           Plaintiffs, pursuant to Fed. R. Civ. P. 26 and 34, and Local Rule 26.1 of the United States

    District Court for the Southern District of Florida, request that Defendants Thomas Brady, Gisele

    Bündchen, Udonis Haslem, David Ortiz, Kevin O’Leary, Stephen Curry, Shaquille O’Neal,

    William Trevor Lawrence, Shohei Ohtani, Naomi Osaka, Lawrence Gene David, Solomid

    Corporation, Golden State Warriors, LLC, Kevin Paffrath, Graham Stephan, Andrei Jikh, Erika

    Kullberg, Jaspreet Singh, Brian Jung, Jeremy Lefebvre, Tom Nash, Ben Armstrong, and Creators

    Agency, respectively, produce the documents requested in response to these document requests.

           Respectfully submitted on July 31, 2023,

                                     Plaintiffs’ Co-Lead Counsel

     By: /s/ Adam Moskowitz                           By: /s/ David Boies
     Adam M. Moskowitz                                David Boies
     Florida Bar No. 984280                           Alex Boies
     Joseph M. Kaye                                   Brooke Alexander
     Florida Bar No. 117520                           BOIES SCHILLER FLEXNER LLP
     THE MOSKOWITZ LAW FIRM, PLLC                     333 Main Street
     Continental Plaza                                Armonk, NY 10504
     3250 Mary Street, Suite 202                      Office: (914) 749-8200
     Coconut Grove, FL 33133                          dboies@bsfllp.com
     Office: (305) 740-1423                           aboies@bsfllp.com
     adam@moskowitz-law.com                           balexander@bsfllp.com
     joseph@moskowitz-law.com
     service@moskowitz-law.com
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                              Plaintiffs’ Promoter Committee Members
     Barbara C. Lewis                                 K. Rachel Lanier
     Florida Bar No. 118114                           Alex J. Brown
     THE MOSKOWITZ LAW FIRM, PLLC                     Davis LaBarre
     Continental Plaza                                THE LANIER LAW FIRM, P.C.
     3250 Mary Street, Suite 202                      10940 W. Sam Houston Pkwy N
     Coconut Grove, FL 33133                          Houston, TX 77064
     Office: (305) 740-1423                           Telephone: (713) 659-5200
     barbara@moskowitz-law.com                        Facsimile: (713) 659-2204
     service@moskowitz-law.com                        Rachel.Lanier@lanierlawfirm.com
                                                      Alex.Brown@lanierlawfirm.com
                                                      Davis.LaBarre@lanierlawfirm.com




                                    CERTIFICATE OF SERVICE
            I hereby certify that on July 31, 2023, I caused a true and correct copy of these requests
     for production to be served on Defendants via electronic mail.

                                                      /s/ Marshal J. Hoda
                                                      Marshal J. Hoda
                                                      Plaintiffs’ eDiscovery Committee Co-Chair
                                                      THE HODA LAW FIRM, PLLC
                                                      marshal@thehodalawfirm.com
                                                      (832) 848-0036




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                                              DEFINITIONS

           Unless otherwise specified, the terms set forth below have the following meanings:

           1.        “FTX Entities” refers to FTX Trading, WRS, and/or FTX US.

           2.        “FTX Trading” refers to FTX Trading Ltd. and its subsidiaries d/b/a FTX Trading,

    including, but not limited to, its past and present subsidiaries, affiliates, divisions, segments

    (including any mobile application and/or web-based cryptocurrency investment services or trading

    platform, such as FTX.com), predecessors (including acquired entities or lines of business such as

    Blockfolio, Inc.), successors, directors, officers, employees, representatives and/or agents.

           3.        “FTX US” refers to West Realm Shires Services Inc. d/b/a FTX US, including,

    but not limited to, its past and present subsidiaries, affiliates, divisions, segments (including any

    mobile application and/or web-based cryptocurrency investment services or platform, such as

    FTX.com), predecessors (including acquired entities or lines of business such as Blockfolio, Inc.),

    successors, directors, officers, employees, representatives and/or agents.

           4.        “FTX Platform” refers to the FTX Entities’ mobile application and/or web-based

    cryptocurrency investment service that places cryptocurrency trade orders on behalf of users.

           5.        “Person” or “People” refers to any natural person(s) or any business, legal, or

    governmental entity (or entities) or association(s).

           6.        “Alameda” refers to Alameda Research LLC, including, but not limited to, its past

    and present subsidiaries, affiliates, divisions, segments (including any mobile application and/or

    web-based cryptocurrency investment services or trading platform), predecessors (including

    acquired entities or lines of business), successors, directors, officers, employees, representatives

    and/or agents.

           7.        All/Each and And/Or – The terms “all”, “each”, “and” and “or” shall be construed

    as meaning either all or each as necessary, or conjunctively, to bring within the scope of the

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    discovery request all responses that might otherwise be construed to be outside its scope.

           8.        “YBAs” refers to the Yield-Bearing Accounts offered by the FTX Entities on the

    FTX Platform.

           9.        “FTT” refers to the native cryptocurrency exchange token of the FTX Platform

    ecosystem.

           10.       “Communication” refers to the transmittal of information in the form of facts,

    ideas, inquiries or otherwise, and whether orally or in writing, or by any other means or medium,

    including in person, electronically and/or by exchange or communication of any document.

           11.       “Concerning” means relating to, referring to, describing, evidencing or

    constituting.

           12.       “Defendants” refers to any and all persons and/or entities named as defendants in

    any of the actions consolidated with, and into, the above-captioned action. For purposes of these

    Requests, Defendants also includes Silvergate Capital Corporation (a/k/a Silvergate Bank).

           13.       “Co-Defendants” means any of the other Defendants sued in this Action, and any

    of their affiliates, subsidiaries, divisions, segments, predecessors, successors, officers, directors,

    employees, representatives, or agents.

           14.       “Document” refers to any written, printed, typed or other graphic matter, of any

    kind or nature, whether in hard copy or electronic format, whether the original, draft, or a copy

    and copies bearing notations or marks not found on the original, including, but not limited to,

    memoranda, reports, recommendations, notes, letters, envelopes, post-its, emails, text messages,

    instant messages (including, but not limited to, messages exchanged or sent using Slack, Teams,

    Discord, WhatsApp, Signal or any other similar application), transcripts, studies, analyses, tests,

    books, articles, minutes, agreements, contracts, and all other written communications, of any type,



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    including inter and intra-office communications, questionnaires, surveys, charts, graphs, videos,

    photographs, tapes, voice messages or other recordings, print-outs or compilations from which

    information can be obtained or, if necessary, translated through detection devices into reasonably

    usable form, including all underlying or preparatory materials and drafts thereof. To the extent not

    already covered in the above definition, “Document” specifically includes any “writing”,

    “recording”, “photograph”, “original” or “duplicate” as defined in Rule 1001 of the Federal Rules

    of Evidence, and/or “Electronically Stored Information” as set forth in Rule 34 of the Federal Rules

    of Civil Procedure and/or as further defined as “ESI” herein.

            15.      "ESI” refers to Electronically Stored Information, as consistent with Rule 34 of

    the Federal Rules of Civil Procedure, and includes all computer or electronically stored or

    generated data and information, including all attachments to and enclosures within any requested

    item, and all drafts thereof. ESI includes all information and documents stored in any format and

    on any storage media, including, but not limited to: hard disks; optical disks, floppy disks; flash

    memory drives; and magnetic tape, whether fixed, portable or removable, and ESI further includes,

    but is not limited to, electronic spreadsheets, electronic presentation documents, e-mail messages,

    text messages, instant messages (including, but not limited to, message exchanged or sent using

    Slack, Teams, Discord, WhatsApp, Signal or any other similar application); image files; sound

    files; material or information stored in a database or accessible from a database. ESI also includes

    all associated metadata that is maintained or saved (including for example, author, recipient, file

    creation date, file modification date, etc.).

            16.      “WRS” refers to West Realm Shires Inc. including, but not limited to, its past and

    present subsidiaries, affiliates, divisions, segments (including any mobile application and/or web-

    based cryptocurrency investment services or platform, such as FTX.com), predecessors (including



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    acquired entities or lines of business such as Blockfolio, Inc.), successors, directors, officers,

    employees, representatives and/or agents. WRS includes, without limitation, its subsidiary West

    Realm Shires Services Inc. d/b/a FTX US (“FTX US”). No specific reference to any of the

    foregoing in the following Requests, including any specific reference to Samuel Bankman-Fried,

    Caroline Ellison, Gary Wang, or Nishad Singh, serves to limit the scope of any reference to FTX

    US herein.

            17.      “You” or “Your” shall refer to the defendant responding to these requests,

    including, but not limited to, its international, national or local branches or offices, and current and

    prior partners, employees and agents.

            18.      Whenever a reference to a business entity appears, the reference shall mean the

    business entity, its affiliated companies, partnerships, divisions, subdivisions, directors, officers,

    employees, agents, clients or other representatives of affiliated third parties.

            19.      Defined terms may or may not be capitalized or made uppercase; the given

    definitions apply even if a term in question is not capitalized or made uppercase. No waiver of a

    definition is implied by the use of a defined term in a non-capitalized or lowercase form.




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                                              INSTRUCTIONS

           1.          Production of the documents and items requested herein shall be made at the

    offices of The Moskowitz Law Firm, P.O. Box 653409, Miami, FL 33133, or via electronic mail

    to the email addresses provided in the signature blocks of the attorneys serving these requests.

           2.          Unless otherwise stated in a request, the time period for which you must respond

    is January 1, 2019 through the date of production.

           3.          Where an objection is made to any request, the objection shall state with

    specificity all grounds for the objection. Any ground not stated in an objection within the time

    provided by the Federal Rules of Civil Procedure, or by the Court’s order, or any extensions thereof,

    shall be waived.

           4.          These requests shall include all documents that are in your possession, custody or

    control or in the possession, custody or control of your present or former agents, representatives,

    or your attorneys, or any and all persons acting on your behalf, or your present or former agents,

    representatives, or attorneys.

           5.          For any document, or portion thereof, covered by a request that is withheld from

    production (or redacted in whole or in part) under claim of privilege, work product protection or

    any other basis, you shall provide the following information in the form of a privilege log:

                       a.     the reasons and facts supporting any withholding, and legal basis for

                              withholding the document;

                       b.     the date such document was prepared;

                       c.     the names, employment positions and addresses of the author or preparers

                              of such document;

                       d.     the names, employment positions, and the addresses of each person who

                              received such document;

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                    e.     the title, a brief description, and the subject matter of the document; and

                    f.     the number of the request under which such document would be produced

                           but for the objection.

           6.       If any document responsive to a request has been destroyed, produce all documents

    describing or referencing:

                    a.     the contents of the lost or destroyed document;

                    b.     all locations in which any copy of the lost or destroyed document had been

                           maintained;

                    c.     the date of such loss or destruction;

                    d.     the name of each person who ordered, authorized, and carried out the

                           destruction of any responsive document;

                    e.     all document retention and destruction policies in effect at the time any

                           requested document was destroyed; and

                    f.     all efforts made to locate any responsive document alleged to have been

                           lost.

           7.       In producing the documents requested, indicate the specific request(s) pursuant to

    which document or group of documents is being produced.

           8.       These requests should be deemed continuing, and supplemental productions should

    be provided as additional documents become available.

           9.       All documents are to be produced in the following method:

                    a.     Single page .TIFF

                    b.     Color.jpg (documents wherein reflection of importance relies on color, shall

                           be produced in .jpg format)

                    c.     OCR at document level (all documents are to be provided with searchable

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                     text files with the exception of the redacted portions of redacted documents.

                d.   Electronic documents, e-mails, text or instant messages are to be processed

                     and converted from the electronic format to single page .TIFF.




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                                 REQUESTS FOR PRODUCTION

           1.    All documents and communications, including contracts or agreements, regarding

   any business You (personally or through any entity owned by You, or any of Your or Your entities’

   affiliates, representatives, employees, or agents) conducted with the FTX Entities, including all

   documents and communications regarding any payments made to You (personally or to any entity

   owned by You, or any of Your or Your entities’ affiliates, representatives, employees, or agents)

   in accordance with any such contract or agreement.

          2.       All videos or other content You (personally or through any entity owned by You,

   or any of Your or Your entities’ affiliates, representatives, employees, or agents) produced

   regarding, relating to, and/or mentioning the FTX platform, FTT, and/or YBAs, including videos

   or content that have been removed from their public-facing platforms.

          3.       All documents and communications regarding any and all communications

   between You (personally or through any entity owned by You, or any of Your or Your entities’

   affiliates, representatives, employees, or agents) with the FTX Entities regarding promotion of

   FTT, YBAs or the FTX Platform.

          4.       All documents regarding any and all due diligence You (personally or through any

   entity owned by You, or any of Your or Your entities’ affiliates, representatives, employees, or

   agents) conducted before promotion of FTT, YBAs or FTX Platform to the public.

          5.       All documents and communications between You and any of the Co-Defendants

   in this Action regarding this lawsuit and/or the subject matter of this lawsuit, including the

   promotion of FTT, YBAs or the FTX Platform.

          6.       All documents that show, evidence and/or relate to Your purchases, ownership, or

   control of FTT, including any wallet addresses controlled by You related to your FTT holdings.

          7.       All documents concerning any exchange of payments of any kind, or the receipt

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   of any item of value (including, but not limited to, items such as cryptocurrency, digital assets, fiat

   currency, real estate, assets, gifts, entertainment, or any other item of value) between or among

   you and/or any of the FTX Entities, Alameda and/or any present or former director, officer,

   employee and/or agent of the FTX Entities and/or Alameda.

          8.        All documents and communication between You and the SEC and/or the FTC

   including, but not limited to, letters, warnings, or information sent to You or any of Your entities’

   affiliates, representatives, employees, or agents.

          9.        All insurance policies under which you may seek coverage in connection with the

   above-referenced action or your work and/or engagements on behalf of the FTX Entities.




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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                       MDL No. 3076
                                CASE NO. 1:23-md-03076-KMM


    In Re: FTX Cryptocurrency Exchange Collapse Litigation


                    PLAINTIFFS’ FIRST SET OF INTERROGATORIES TO
                        PROMOTER & INFLUENCER DEFENDANTS

          Plaintiffs, pursuant to Fed. R. Civ. P. 26 and 34, and Local Rule 26.1 of the United States

   District Court for the Southern District of Florida, request that Defendants Thomas Brady, Gisele

   Bündchen, Udonis Haslem, David Ortiz, Kevin O’Leary, Stephen Curry, Shaquille O’Neal,

   William Trevor Lawrence, Shohei Otani, Naomi Osaka, Lawrence Gene David, Solomid

   Corporation, Golden State Warriors, LLC, Kevin Paffrath, Graham Stephan, Andrei Jikh, Erika

   Kullberg, Jaspreet Singh, Brian Jung, Jeremy Lefebvre, Tom Nash, Ben Armstrong, and Creators

   Agency, respectively, respond in writing and under oath to the following interrogatories within the

   time prescribed by such rules.

          Respectfully submitted on July 31, 2023,

                                     Plaintiffs’ Co-Lead Counsel

    By: /s/ Adam Moskowitz                           By: /s/ David Boies
    Adam M. Moskowitz                                David Boies
    Florida Bar No. 984280                           Alex Boies
    Joseph M. Kaye                                   Brooke Alexander
    Florida Bar No. 117520                           BOIES SCHILLER FLEXNER LLP
    THE MOSKOWITZ LAW FIRM, PLLC                     333 Main Street
    Continental Plaza                                Armonk, NY 10504
    3250 Mary Street, Suite 202                      Office: (914) 749-8200
    Coconut Grove, FL 33133                          dboies@bsfllp.com
    Office: (305) 740-1423                           aboies@bsfllp.com
    adam@moskowitz-law.com                           balexander@bsfllp.com
    joseph@moskowitz-law.com
    service@moskowitz-law.com
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                                      22




                             Plaintiffs’ Promoters Committee Members

    Barbara C. Lewis                                  K. Rachel Lanier
    Florida Bar No. 118114                            Alex J. Brown
    THE MOSKOWITZ LAW FIRM, PLLC                      Davis LaBarre
    Continental Plaza                                 THE LANIER LAW FIRM, P.C.
    3250 Mary Street, Suite 202                       10940 W. Sam Houston Pkwy N
    Coconut Grove, FL 33133                           Houston, TX 77064
    Office: (305) 740-1423                            Telephone: (713) 659-5200
    barbara@moskowitz-law.com                         Facsimile: (713) 659-2204
    service@moskowitz-law.com                         Rachel.Lanier@lanierlawfirm.com
                                                      Alex.Brown@lanierlawfirm.com
                                                      Davis.LaBarre@lanierlawfirm.com




                                    CERTIFICATE OF SERVICE
            I hereby certify that on July 31, 2023, I caused a true and correct copy of these
    interrogatories to be served on Defendants via electronic mail.

                                                      /s/ Marshal J. Hoda
                                                      Marshal J. Hoda
                                                      Plaintiffs’ eDiscovery Committee Co-Chair
                                                      THE HODA LAW FIRM, PLLC
                                                      marshal@thehodalawfirm.com
                                                      (832) 848-0036




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                                      22



                                             DEFINITIONS

          Unless otherwise specified, the terms set forth below have the following meanings:

          1.        “FTX Entities” refers to FTX Trading, WRS, and/or FTX US.

          2.        “FTX Trading” refers to FTX Trading Ltd. and its subsidiaries d/b/a FTX Trading,

   including, but not limited to, its past and present subsidiaries, affiliates, divisions, segments

   (including any mobile application and/or web-based cryptocurrency investment services or trading

   platform, such as FTX.com), predecessors (including acquired entities or lines of business such as

   Blockfolio, Inc.), successors, directors, officers, employees, representatives and/or agents.

          3.        “FTX US” refers to West Realm Shires Services Inc. d/b/a FTX US, including, but

   not limited to, its past and present subsidiaries, affiliates, divisions, segments (including any

   mobile application and/or web-based cryptocurrency investment services or platform, such as

   FTX.com), predecessors (including acquired entities or lines of business such as Blockfolio, Inc.),

   successors, directors, officers, employees, representatives and/or agents.

          4.        “FTX Platform” refers to the FTX Entities’ mobile application and/or web-based

   cryptocurrency investment service that places cryptocurrency trade orders on behalf of users.

          5.        “Person” or “People” refers to any natural person(s) or any business, legal, or

   governmental entity (or entities) or association(s).

          6.        “Alameda” refers to Alameda Research LLC, including, but not limited to, its past

   and present subsidiaries, affiliates, divisions, segments (including any mobile application and/or

   web-based cryptocurrency investment services or trading platform), predecessors (including

   acquired entities or lines of business), successors, directors, officers, employees, representatives

   and/or agents.

          7.        All/Each and And/Or – The terms “all”, “each”, “and” and “or” shall be construed

   as meaning either all or each as necessary, or conjunctively, to bring within the scope of the

                                                   -3-
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   discovery request all responses that might otherwise be construed to be outside its scope.

           8.      “FTT” refers to the native cryptocurrency exchange token of the FTX Platform

   ecosystem.

           9.      “Communication” refers to the transmittal of information in the form of facts, ideas,

   inquiries or otherwise, and whether orally or in writing, or by any other means or medium,

   including in person, electronically and/or by exchange or communication of any document.

           10.     “Concerning” means relating to, referring to, describing, evidencing or

   constituting.

           11.     “Defendants” refers to any and all persons and/or entities named as defendants in

   any of the actions consolidated with, and into, the above-captioned action. For purposes of these

   Requests, Defendants also includes Silvergate Capital Corporation (a/k/a Silvergate Bank).

           12.      “Document” refers to any written, printed, typed or other graphic matter, of any

   kind or nature, whether in hard copy or electronic format, whether the original, draft, or a copy

   and copies bearing notations or marks not found on the original, including, but not limited to,

   memoranda, reports, recommendations, notes, letters, envelopes, post-its, emails, text messages,

   instant messages (including, but not limited to, messages exchanged or sent using Slack, Teams,

   Discord, WhatsApp, Signal or any other similar application), transcripts, studies, analyses, tests,

   books, articles, minutes, agreements, contracts, and all other written communications, of any type,

   including inter and intra-office communications, questionnaires, surveys, charts, graphs, videos,

   photographs, tapes, voice messages or other recordings, print-outs or compilations from which

   information can be obtained or, if necessary, translated through detection devices into reasonably

   usable form, including all underlying or preparatory materials and drafts thereof. To the extent not

   already covered in the above definition, “Document” specifically includes any “writing”,



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   “recording”, “photograph”, “original” or “duplicate” as defined in Rule 1001 of the Federal Rules

   of Evidence, and/or “Electronically Stored Information” as set forth in Rule 34 of the Federal Rules

   of Civil Procedure and/or as further defined as “ESI” herein.

           13.      “ESI” refers to Electronically Stored Information, as consistent with Rule 34 of the

   Federal Rules of Civil Procedure, and includes all computer or electronically stored or generated

   data and information, including all attachments to and enclosures within any requested item, and

   all drafts thereof. ESI includes all information and documents stored in any format and on any

   storage media, including, but not limited to: hard disks; optical disks, floppy disks; flash memory

   drives; and magnetic tape, whether fixed, portable or removable, and ESI further includes, but is

   not limited to, electronic spreadsheets, electronic presentation documents, e-mail messages, text

   messages, instant messages (including, but not limited to, message exchanged or sent using Slack,

   Teams, Discord, WhatsApp, Signal or any other similar application); image files; sound files;

   material or information stored in a database or accessible from a database. ESI also includes all

   associated metadata that is maintained or saved (including for example, author, recipient, file

   creation date, file modification date, etc.).

           14.      “WRS” refers to West Realm Shires Inc. including, but not limited to, its past and

   present subsidiaries, affiliates, divisions, segments (including any mobile application and/or web-

   based cryptocurrency investment services or platform, such as FTX.com), predecessors (including

   acquired entities or lines of business such as Blockfolio, Inc.), successors, directors, officers,

   employees, representatives and/or agents. WRS includes, without limitation, its subsidiary West

   Realm Shires Services Inc. d/b/a FTX US (“FTX US”). No specific reference to any of the

   foregoing in the following Requests, including any specific reference to Samuel Bankman-Fried,

   Caroline Ellison, Gary Wang, or Nishad Singh, serves to limit the scope of any reference to FTX



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                                      22



   US herein.

           15.      “You” or “Your” shall refer to the defendant responding to these requests,

   including, but not limited to, its international, national or local branches or offices, and current and

   prior partners, employees and agents.

           16.      Whenever a reference to a business entity appears, the reference shall mean the

   business entity, its affiliated companies, partnerships, divisions, subdivisions, directors, officers,

   employees, agents, clients or other representatives of affiliated third parties.

           17.      Defined terms may or may not be capitalized or made uppercase; the given

   definitions apply even if a term in question is not capitalized or made uppercase. No waiver of a

   definition is implied by the use of a defined term in a non-capitalized or lowercase form.




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                                             INSTRUCTIONS

          1.      Production of responses and objections to the interrogatories shall be made at the

   offices of The Moskowitz Law Firm, P.O. Box 653409, Miami, FL 33133, or via electronic mail

   to the email addresses provided in the signature blocks of the attorneys serving these

   interrogatories.

          2.          Unless otherwise stated in an interrogatory, the time period for which you must

   respond is January 1, 2019 through the date of response to these interrogatories.

          3.          These interrogatories shall include all information in your possession, custody, or

   control or in the possession, custody, or control of your present or former agents, representatives,

   or your attorneys, or any and all persons acting on your behalf, or your present or former agents,

   representatives, or attorneys.

          4.          Each interrogatory objection and/or response must immediately follow the quoted

   interrogatory, and no part of an interrogatory shall be left unanswered merely because an objection

   is interposed to another part of the interrogatory.

          5.          If you claim there is any ambiguity in either a particular interrogatory or in a

   definition or an instruction applicable thereto, you shall not use such claim as a basis for refusing

   to respond to the interrogatory, but you shall set forth as part of the response the language you

   deem ambiguous and the interpretation you used in responding.

          6.          Where an objection is made to any interrogatory, the objection shall state all

   grounds for said objection with specificity. Any ground not stated in an objection within the time

   provided by the Federal Rules of Civil Procedure, the local rules of the Southern District of Florida,

   or by the Court’s order, or any extensions thereof, shall be waived.

          7.          Where a claim of privilege or protection from disclosure is asserted in objecting

   to any interrogatory, or sub-part thereof, and a complete answer is not provided on the basis of

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   such assertion, you shall provide a log within the time period set forth in Rule 26.1 of the Local

   Rules of the Southern District of Florida, and in conformity with the requirements of that rule.

          8.        If you answer any interrogatory by reference to records or materials from which

   the answer may be derived or ascertained, you shall make available within the time period specified

   in Rule 26.1 of the Local Rules of the Southern District of Florida:

                    a.      any electronically stored information or summaries thereof that you have

                            or can adduce by a relatively simple procedure, unless those materials are

                            privileged or otherwise immune from discovery.

                    b.      any relevant compilations, abstracts or summaries in your custody or

                            readily obtainable by you, unless those materials are privileged or

                            otherwise immune from discovery.

          9.        All documents that cannot be accurately represented in TIFF format (such as

   spreadsheets, computer slide presentations, audio files, video files, word processing documents

   with tracked changes, and other similar file types) shall be provided in its native format. The parties

   will further meet and confer regarding appropriate format of production for databases and

   structured data (e.g., Microsoft Teams, Slack, Microsoft Access, Azure Cloud, Salesforce, Oracle,

   or other ephemeral messaging or proprietary database systems).

          10.       All documents are to be produced in the following method if not produced in its

   Native Format:

                    a.      Single page .TIFF images

                    b.      Color.jpg (documents wherein reflection of importance relies on color,

                            shall be produced in .jpg format)

                    c.      Document level Text Files containing extracted full text or OCR text.



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                   d.     Electronic documents, emails, text, or instant messages are to be processed

                          and converted from the electronic format to single page .TIFF.

          11.      These interrogatories shall be deemed continuing, and supplemental interrogatory

   responses shall be provided as additional responsive information becomes available.




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                                         INTERROGATORIES

            1.       For each contract, promotion, or published statement by YOU in support of FTX

   Entities or Alameda, identify each person who was involved with the contract, promotion, or

   published statement that was part of YOUR team (including, but not limited to, agents, colleagues

   who introduced or vouched for FTX Entities or Alameda, and any member of your social media

   team).

            2.        Identify any and all payments made to you, (including, but not limited to, items

   such as cryptocurrency, digital assets, fiat currency, real estate, assets, gifts, entertainment, or any

   other item of value), by the FTX Entities or Alameda for your promoting, supporting, selling, or

   publishing statements regarding the FTX Entities or Alameda.

            3.        Identify any support for your promotional statement, and any research or due

   diligence YOU performed about the FTX Entities or Alameda prior to promoting, supporting,

   selling, or publishing statements regarding the FTX Entities or Alameda.

            4.        Identify any and all investments YOU specifically made in FTT or wallets you

   held on the FTX Platform including dollar amounts, the type of cryptocurrency holding, or any

   digital assets.

            5.        Identify any and all insurance policies that YOU may seek coverage in connection

   with the above-referenced action or your work and/or engagements on behalf of the FTX Entities.




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